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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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GABRIEL FRANCIS,                                                    : Case No. 1:17-cv-3310
                                                                    :
                           Plaintiff,                               : (Removed from the Supreme
                                                                    : Court of the State of New
                  v.                                                : York, County of Kings, Case
                                                                    : No. 506584/2017)
BLUESTEM BRANDS INC. d/b/a FINGERHUT, :
                                                                    : NOTICE OF REMOVAL
                           Defendant.                               : BY DEFENDANT
                                                                    : BLUESTEM BRANDS, INC.
                                                                    :
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TO THE CLERK OF THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK:

       Please take notice that Defendant Bluestem Brands, Inc. (“Bluestem”) removes the

above-titled action from the Supreme Court of the State of New York, County of Kings (“the

Supreme Court”), in which the action is currently pending, to the United States District Court for

the Eastern District of New York on the grounds that this Court has original and removal

jurisdiction over this civil action pursuant to 28 U.S.C. §§ 1331, 1441, 1446 and all other

applicable bases for removal. Bluestem states as follows in support of this notice:

                    PLEADINGS AND FILINGS IN SUPREME COURT

       1.      On or about April 3, 2017, Plaintiff Gabriel Francis (“Plaintiff”) filed a Verified

Complaint in the Supreme Court of the State of New York, County of Kings, captioned Gabriel

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Francis v. Bluestem Brands d/b/a Fingerhut, bearing Index No. 506584/2017. A true and correct

copy of the Summons and Verified Complaint filed by Plaintiff in the Supreme Court Action is

attached as Exhibit A.

       2.       On or about April 28, 2017, Plaintiff filed an Amended Summons and Amended

Verified Complaint, captioned Gabriel Francis v. Bluestem Brands Inc. d/b/a Fingerhut, Index

No. 506584/2017 in the Supreme Court. A true and correct copy of the Amended Summons and

Amended Verified Complaint filed by Plaintiff in the Supreme Court Action is attached as

Exhibit B.

       3.      On May 4, 2017, Bluestem was purportedly served with a copy of the Amended

Complaint. Bluestem was not served with a copy of the original Complaint.

                                 TIMELINESS OF REMOVAL

       4.      This action has not been previously removed to federal court.

       5.      This Notice of Removal is timely filed. Under 28 U.S.C. § 1446(b) the Notice of

Removal may be filed within thirty days of receipt of the initial pleading setting forth the claim.

Specifically, 28 U.S.C. § 1446(b), provides that the Notice of Removal is to be filed within thirty

days of receipt “through service or otherwise, of a copy of the initial pleading setting forth the

claim for relief upon which such action or proceeding is based . . .” Bluestem has filed this

Notice of Removal within 30 days of the first date upon which it was served with any paper

giving it knowledge that the action was removable, i.e., the Amended Complaint.

                         ORIGINAL AND REMOVAL JURISDICTION

       6.      In the Supreme Court Action, Plaintiff alleges violations of the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. (See Amended Verified Complaint

¶¶ 1-2, 10-17.) Accordingly, the Supreme Court Action presents a federal question within the



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meaning of 28 U.S.C. § 1331, because it involves claims and/or issues arising in whole or in part

under the Constitution, laws, or treaties of the United States. Therefore, this Court has original

jurisdiction over the Supreme Court Action.

       7.      Under 28 U.S.C. § 1441 (a), “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the

defendant or the defendants, to the district court of the United States for the district and division

embracing the place where such action is pending.”

       8.      Plaintiff’s Amended Complaint presents a federal question for determination, i.e.,

whether Bluestem violated the TCPA. Accordingly, this case is a civil action over which this

District Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and is one which may be

removed to this Court by Bluestem pursuant to 28 U.S.C. § 1441 et seq. in that it arises under

Title VII. (See generally Exhibit B).

       9.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a).

       10.     Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon or otherwise received by Bluestem are attached hereto as Exhibit B.

       11.     In accordance with 28 U.S.C. § 1446(d), Bluestem will give prompt written notice

of this Notice of Removal to all adverse parties and to the Clerk of the Supreme Court. A copy

of the Notice of Filing of Notice of Removal to the Supreme Court of the State of New York,

County of Kings is attached hereto as Exhibit C.

       12.     By filing this Notice of Removal, Bluestem does not waive any defenses either

procedural or substantive, which may be available to it, including, but not limited to, its right to

contest in personam jurisdiction, improper service of process or the absence of venue in this

Court or in the court from which the action has been removed.



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        WHEREFORE, Bluestem removes the Supreme Court Action from the Supreme Court of

the State of New York, County of Kings to the United States District Court for the Eastern

District of New York.


Dated: New York, New York
       June 1, 2017
                                            Respectfully Submitted,

                                            MCGUIREWOODS LLP

                                            s/ Philip A. Goldstein
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